                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE

U.S. Bank Trust N.A., as Trustee for LSF9         CIVIL ACTION NO: 2:19-cv-00156-LEW
Master Participation Trust

               Plaintiff

                        vs.                       RE: 6 School Street, Bridgton, ME 04009

Dawn Landsman a/k/a Dawn L.                       Mortgage:
Beauchamp                                         February 5, 2009
                                                  Book 26624, Page 83
               Defendant
CACH, LLC
               Party-In-Interest

                    CONSENT JUDGMENT OF FORECLOSURE AND SALE

       Now comes the Plaintiff, U.S. Bank Trust N.A., as Trustee for LSF9 Master Participation
Trust, and the Defendant, Dawn Landsman a/k/a Dawn L. Beauchamp and Party-In-Interest
CACH, LLC, and hereby submits this Consent Judgment of Foreclosure and Sale.

       Count II – Breach of Note, Count III – Breach of Contract, Money Had and Received,
Count IV – Quantum Meruit, and Count V – Unjust Enrichment, are hereby DISMISSED without
prejudice at the request of the Plaintiff. JUDGMENT on Count I – Foreclosure, is hereby
ENTERED as follows:

1.     If the Defendant or their heirs or assigns pay U.S. Bank Trust N.A., as Trustee for LSF9
       Master Participation Trust (“U.S. Bank”) the amount adjudged due and owing ($170,438.32)
       within 90 days of the date of the Judgment, as that time period is calculated in accordance
       with 14 M.R.S.A. § 6322, U.S. Bank shall forthwith discharge the Mortgage and file a
       dismissal of this action on the ECF Docket. The following is a breakdown of the amount
       due and owing:

                Description                      Amount
       Unpaid Principal Balance                       $114,800.22
       Escrow Balance                                  $16,096.57
       Interest                                        $39,541.53
       Grand Total                                    $170,438.32
2.   If the Defendant or their heirs or assigns do not pay U.S. Bank the amount adjudged due
     and owing ($170,438.32) within 90 days of the Judgment, as that time period is calculated in
     accordance with 14 M.R.S.A. § 6322, their remaining rights to possession of the Bridgton
     Property shall terminate, U.S. Bank shall conduct a public sale of the Bridgton Property in
     accordance with 14 M.R.S.A. § 6323, disbursing the proceeds first to itself in the amount of
     $170,438.32 after deducting the expenses of the sale, with any surplus to be disbursed
     pursuant to Paragraph 5 of this Judgment, and in accordance with 14 M.R.S.A. § 6324.

3.   Pursuant to 14 M.R.S.A. § 2401(3)(F), the Clerk shall sign a certification after the appeal
     period has expired, certifying that the applicable period has expired without action or that
     the final judgment has been entered following appeal.

4.   The amount due and owing is $170,438.32.

5.   The priority of interests is as follows:

     a.)     U.S. Bank Trust N.A., as Trustee for LSF9 Master Participation Trust has first
             priority, in the amount of $170,438.32, pursuant to the subject Note and Mortgage.

     b.)     CACH, LLC has the second priority behind the Plaintiff pursuant to a Writ of
             Execution dated July 22, 2010, in the amount of $4,751.65, and recorded in the
             Cumberland County Registry of Deeds in Book 28176, page 96.

     c.)     Dawn Landsman a/k/a Dawn L. Beauchamp has the third priority behind the
             Plaintiff.

6.   The prejudgment interest rate is 6.00000%, see 14 M.R.S.A. § 1602-B, and the post-judgment
     interest rate is 8.590000%, see 14 M.R.S.A. § 1602-C.
  7. The following information is included in this Judgment pursuant to 14 M.R.S.A. § 2401(3):




                           PARTIES                            COUNSEL
PLAINTIFF                  U.S. Bank Trust N.A., as Trustee John A. Doonan, Esq.
                           for LSF9 Master Participation    Reneau J. Longoria, Esq.
                           Trust                            Doonan, Graves & Longoria, LLC
                                                            100 Cummings Center
                                                            Suite 225D
                                                            Beverly, MA 01915
DEFENDANT
                           Dawn Landsman                      Pro Se
                           a/k/a Dawn L. Beauchamp
                           113 Cimarron Drive, Apt. D8
                           Seabrook, NH 03874

PARTY-IN-INTEREST
                           CACH, LLC                          Pro Se
                           c/o Corporation Service
                           Company
                           45 Memorial Circle
                           Augusta, ME 04330




     a)      The docket number of this case is No. 2:19-cv-00156-LEW.

     b)      All parties to these proceedings received notice of the proceedings in accordance
             with the applicable provisions of the Federal Rules of Civil Procedure.

     c)      A description of the real estate involved, 6 School Street, Bridgton, ME 04009, is set
             forth in Exhibit A to the Judgment herein.

     d)      The street address of the real estate involved is 6 School Street, Bridgton, ME 04009.
             The Mortgage was executed by the Defendants on February 5, 2009. The book and
             page number of the Mortgage in the Cumberland County Registry of Deeds is Book
             26624, Page 83.
       e)     This judgment shall not create any personal liability on the part of the Defendant
              but shall act solely as an in rem judgment against the property, 6 School Street,
              Bridgton, ME 04009.



Dated: July 17, 2019                              /s/ Reneau J. Longoria, Esq.
                                                  John A. Doonan, Esq., Bar No. 3250
                                                  Reneau J. Longoria, Esq., Bar No. 5746
                                                  Attorneys for Plaintiff
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                                                  RJL@dgandl.com

Dated: July 4, 2019                               /s/ Dawn Landsman______________
                                                  Dawn Landsman, a/k/a Dawn L. Beauchamp
                                                  113 Cimarron Drive, Apt. D8
                                                  Seabrook, NH 03874




SO ORDERED.


Dated: July 18, 2019                                  /s/Lance E. Walker
                                                      LANCE E. WALKER
                                                      U.S. DISTRICT JUDGE
